                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                    3:01cr216-4

UNITED STATES OF AMERICA,                              )
                                                       )
                                                       )
Vs.                                                    )               ORDER
                                                       )
KERRY LAMONT BRONSON.                                  )
_______________________________                        )

       THIS MATTER is before the court on a letter sent to the court on or about July 23, 2012,

which the court has filed as a second Motion to Reduce Sentence (#384). In that letter, defendant

disagrees with court-appointed counsel’s assesment that he is entitled to a sentence reduction to 262

months, and argues that he is entitled to a reduction to 240 months under the Fair Sentencing Act

of 2010. On July 24, 2012, this court entered its Order granting defendant’s first Motion to Reduce

Sentence (#377), therein reducing defendant’s sentence to 240 months, thereby granting defendant

substantially all the relief he sought in his second motion. Clearly, the Order granting the relief and

the second motion seeking such relief crossed in the mail.

       In addition to a reduction in sentence, defendant also argues that it would be appropriate to

reduce his period of Supervised Release from 10 years to 5 years. Defendant has not, however,

provided the court with any citation of law that would support reducing supervised release in

conjunction with review under the FSA. As a general matter, motions seeking a reduction of

sentence pursuant to the retroactive guideline are governed by 18 U.S.C. § 3582(c)(2), whicb

provides as follows:

       (2)     in the case of a defendant who has been sentenced to a term of imprisonment
               based on a sentencing range that has subsequently been lowered by the
               Sentencing Commission pursuant to 28 U.S.C. 994 (o), upon motion of the
               defendant or the Director of the Bureau of Prisons, or on its own motion, the
               court may reduce the term of imprisonment, after considering the factors set
               forth in section 3553 (a) to the extent that they are applicable, if such a
               reduction is consistent with applicable policy statements issued by the
               Sentencing Commission.

18 U.S.C. § 3582(c)(2) (emphasis added). Nothing in the statute allows the court to reduce a term

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of supervised release. Put another way, Section 3582(c)(2) proceedings are not full resentencings.

Such part of defendant’s request will, therefore, be denied.

       Defendant is advised, however, that in exercising its discrection in granting the sentencing

reduction in July, the court considered defendant’s disciplinary record as well as his educational and

vocational achievements while incarcerated, all of which were exceptionally good. He is advised

that if he performs as well on supervised release, it is possible (if such is allowed by law in his

particular case) for his supervised release officer to move for early termination of supervised release.


                                               ORDER

       IT IS, THEREFORE, ORDERED that defendant’s second Motion to Reduce Sentence

(#384) is DENIED as moot.




                                                   Signed: August 7, 2012




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